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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-2(c)

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In Re: CASE NO. 09-11198 (GMB)
Jointly Administered with
HERITAGE HIGHGATE, INC, et al., Case No.: 09-11197

Debtors. | UDGE: GLORIA M. BURNS

CERTIFICATE OF SERVICE

I, Albert A. Ciardi, Esquire hereby certify that I caused on this 14" day of
September 2009, a true and correct copy of the Notice of Motion and Motion of Debtors
and Debtors-In-Possession to Determine the Value of the Secured Claims of ProBuild
East, LLC Pursuant to 11 U.S.C. §506(a) and rule 3012 of the Federal Rules of
Bankruptcy Procedure was served upon the parties listed on the attached service list via

first class mail, postage prepaid.

CIARDI CIARDI & ASTIN

Dated: September 14, 2009 By: _/s/ Albert A. Ciardi
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Case 09-11198-GMB

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